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                                                           U.S. Department of Justice
                                                           United States Attorney
                                                           District of New Jersey


Bemard J. Cooney                                           970 Broad Street, Suite 700     Direct Dial: (973) 645-2823
Assistant United States Auornev                            Nevark, Ney, Jersey   07 I 02




                                                           February 4,2O2O

Frank P. Arleo, Esq.
Arleo & Donohue, LLC
622 E,agle Rock Ave.
West Orange, NJ 07052

                                  Re:   Plea Aqreement   with Kvle D. Mclean
Dear Mr. Arleo:

             This letter sets forth the plea agreement between your client Kyle
D. Mclean ("Mcl,ean") and the United States Attorney for the District of New
Jersey ("this Office"). This plea agreement will expire on February 24,2O2O, if
an executed copy is not returned to this Office on or before that date.

Charqe

              Conditioned on the understandings specified below, this Office will
accept a guilty plea from Mclean to an Information, which charges Mclean
with conspiring to commit health care fraud, contrary to 18 U.S.C. $ 1347, in
violation of 18 U.S.C. S 371. If Mclean enters a guilty plea and is sentenced on
this charge, and otherwise fully complies with all of the terms of this
agreement, this Office will not initiate any further criminal charges against
Mclean for, through Privy Health, Inc., from in or about 2Ol7 through in or
about January 2079, conspiring to commit health care fraud in connection
with referrals of orders for genetic tests. In addition, if Mclean fully complies
with all of the terms of this agreement, at the time of sentencing in this matter,
this Office will move to dismiss the Indictment, Crim. No. 19-693 (BRM), as to
Mclean.

              However, in the event that a guilty plea in this matter is not
entered. for any reason or the judgment of conviction entered as a result of this
guilty plea does not remain in full force and effect, Mclean agrees that any
Itfr"i .h.rg." that are not time-barred by the applicable statute of limitations
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on the date this agreement is signed by Mclean may be commenced against
him, notwithstanding the expiration of the limitations period after Mclean
signs the agreement.

Sentencinq

              The violation of 18 U.S.C. S 371 to which Mclean agrees to plead
guilty carries a statutory maximum prison sentence of five years and a
statutory maximum fine which is the greatest of: (1) $Z5O,OOO; (2) twice the
gross amount of any pecuniary gain that any persons derived from the offense;
or (3) twice the gross amount of any pecuniary loss sustained by any victims of
the offense. Fines imposed by the sentencing judge may be subject to the
payment of interest.

             The sentence to be imposed upon Mclean is within the sole
discretion of the sentencing judge, subject to the provisions of the Sentencing
Reform Act, 18 U.S.C. SS 3551-3742, and the sentencing judge's consideration
of the United States Sentencing Guidelines. The United States Sentencing
Guidelines are advisory, not mandatory. The sentencing judge may impose any
reasonable sentence up to and including the statutory maximum term of
imprisonment and the maximum statutory fine. This Office cannot and does
not make any representation or promise as to what Guidelines range may be
found by the sentencing judge, or as to what sentence Mclean ultimately will
receive.

             Further, in addition to imposing any other penalty on Mclean, the
sentencing  judge  (1) will order Mclean to pay an assessment of $1OO pursuant
to 18 U.S.C. S 3013, which assessment must be paid by the date of sentencing;
(2) may order Mclean to pay restitution pursuant to 18 U.S.C. SS 3563(b)(2),
3583(d), or 3663; (3) may order Mclean, pursuant to 18 U.S.C. S 3555, to give
notice to any victims of his offense; (4) must order forfeiture, pursuant to 18
U.S.C. $ 982(a)(7); and (5) pursuant to 18 U.S.C. S 3583, may require Mclean
to serve a term of supervised release of not more than three years, which will
begin at the expiration of any term of imprisonment imposed. Should Mclean
be placed on a term of supervised release and subsequently violate any of the
conditions of supervised release before the expiration of its term, Mclean may
be sentenced to not more than two years'imprisonment in addition to any
prison term previously imposed, regardless of the statutory maximum term of
imprison-.rrt set forth above and without credit for time previously served on
post-release supervision, and may be sentenced to an additional term of
supervised release.



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Restitution Agreement

            In addition, Mclean agrees to pay restitution in an amount to be
determined at the time of sentencing for all losses resulting from the offense of
conviction or from the scheme, conspiracy, or pattern of criminal activity
underlying the offense.

Riehts of This Office Regarding Sentencins

              Except as otherwise provided in this agreement, this Office
reserves its right to take any position with respect to the appropriate sentence
to be imposed on Mclean by the sentencing judge, to correct any
misstatements relating to the sentencing proceedings, and to provide the
sentencing judge and the United States Probation Office all law and
information relevant to sentencing, favorable or otherwise. In addition, this
Office may inform the sentencing judge and the United States Probation Office
of (1) this agreement, and (2) the full nature and extent of activities and
relevant conduct with respect to this case.

Stipulations

             This Office and Mclean agree to stipulate at sentencing to the
statements set forth in the attached Schedule A, which hereby is made a part
of this plea agreement. This agreement to stipulate, however, cannot and does
not bind the sentencing judge, who may make independent factual findings
and may reject any or all of the stipulations entered into by the parties. To the
extent that the parties do not stipulate to a particular fact or legal conclusion,
each reserves the right to argue the existence of and the effect of any such fact
or conclusion upon the sentence. Moreover, this agreement to stipulate on the
part of this Office is based on the information and evidence that this Office
possesses as of the date of this agreement. Thus, if this Office obtains or
receives additional evidence or information prior to sentencing that it
determines to be credible and to be materially in conflict with any stipulation in
the attached Schedule A, this Office shal1 not be bound by any such
stipulation. A determination that any stipulation is not binding shall not
release either this Office or Mclean from any other portion of this agreement,
including any other stipulation. If the sentencing court rejects a stipulation,
both parties reserve the right to argue on appeal or at post-sentencing
proceedings that the sentencing court was within its discretion and authority
io do so. These stipulations do not restrict this Office's right to respond to
questions from the Court and to correct misinformation that has been provided
to the Court.


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Waiver of Appeal and Post-Sentencine Rights

              As set forth in Schedule A, this Office and Mclean waive certain
rights to file an appeal, collateral attack, writ, or motion after sentencing,
including but not limited to an appeal under 18 u.S.c. g 3742 or a motion
under 28 U.S.C. S 2255.

Forfeiture

      As part of his acceptance of responsibility, and pursuant to 18 U.S.C.
$ 982(a)(7), Mclean agrees to forfeit to the United States all of his right, title,
and interest in all property the defendant obtained that constitutes or is
derived, directly or indirectly, from gross proceeds traceable to the conspiracy
to commit health care fraud, contrary to 18 U.S.C. S 1347, in violation of 18
U.S.C. S 371, as charged in the Information.

       Mclean waives the requirements of Rules 32.2 and a3(a) of the Federal
Rules of Criminal Procedure regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of
the forfeiture in the judgment. The defendant understands that criminal
forfeiture is part of the sentence that may be imposed in this case and waives
any failure by the court to advise him of this pursuant to Rule 11(b)(1)(J) of the
Federal Rules of Criminal Procedure at the guilty plea proceeding. The
defendant waives any and all constitutional, statutory, and other challenges to
the forfeiture on any and all grounds, including that the forfeiture constitutes
an excessive fine or punishment under the Eighth Amendment. It is further
understood that any forfeiture of the defendant's assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty
the Court may impose upon him in addition to forfeiture.

       Mclean further agrees that on or before the date he enters his plea of
guilty he will provide a complete and accurate Financiai Disclosure Statement
on the form provided by this Office. If Mclean fails to provide a complete and
accurate Financial Disclosure Statement by the date he enters his plea of
guilty, or if this Office determines that Mclean has intentionally failed to
disclose assets on his Financial Disclosure Statement, Mclean agrees that that
failure constitutes a material breach of this agreement, and this Office reserves
the right, regardless of any agreement or stipulation that might otherwise
apply, to oppose any downward adjustment for acceptance of responsibility
pursuant to U.S.S.G. S 3E1. 1, and to seek leave of the Court to withdraw from
this agreement or seek other relief.



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Immigration Consequences

             Mclean understands that, if he is not a citizen of the United
States, his guilty plea to the charged offense will likely result in his being
subject to immigration proceedings and removed from the United States by
making him deportable, excludable, or inadmissible, or ending his
naturabzation. The defendant understands that the immigration consequences
of this plea will be imposed in a separate proceeding before the immigration
authorities. The defendant wants and agrees to plead guilty to the charged
offense regardless of any immigration consequences of this plea, even if this
plea will cause his removal from the United States. The defendant
understands that he is bound by his guilty plea regardless of any immigration
consequences of the plea. Accordingly, the defendant waives any and all
challenges to his guilty plea and to his sentence based on any immigration
consequences, and agrees not to seek to withdraw his guilty plea, or to file a
direct appeal or any kind of collateral attack challenging his guilty plea,
conviction, or sentence, based on any immigration consequences of his guilty
plea.


Other Provisions

             This agreement is limited to the United States Attorney's Office for
the District of New Jersey and cannot bind other federal, state, or local
authorities. However, this Office will bring this agreement to the attention of
other prosecuting offices, if requested to do so.

            This agreement was reached without regard to any civil or
administrative matters that may be pending or commenced in the future
against Mclean. This agreement does not prohibit the United States, any
agency thereof (including the Internal Revenue Service and the U.S.
Department of Health and Human Services), or any third party from initiating
or prosecuting any civil or administrative proceeding against Mclean.

             No provision of this agreement shall preclude Mclean from
pursuing in an appropriate forum, when permitted by law, an appeal, collateral
attack, writ, or motion claiming that Mclean received constitutionally
ineffective assistance of counsel.




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No Other Promises


             This agreement constitutes the plea agreement between Mclean
and this Office and supersedes any previous agreements between them. No
additional promises, agreements, or conditions have been made or will be made
unless set forth in writing and signed by the parties.



                                          Very truly yours,

                                          CRAIG CARPENITO
                                          United States Attorney




                                          Assistant U.S.At
APPROVED:



Chief, Health Care Fraud Unit




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                     Plea Agreement        with Kvle D. Mclean
                                        Schedule A

             1.    This Office and Kyle D. Mclean ("Mcl.ean") recognize that the
United States Sentencing Guidelines are not binding upon the Court. This Office
and Mclean nevertheless agree to the stipulations set forth herein, and agree
that the Court should sentence Mclean within the Guidelines range that results
from the total Guidelines offense level set forth below. This Office and Mclean
further agree that neither party will argue for the imposition of a sentence outside
the Guidelines range that results from the agreed total Guidelines offense Ievel.

            2.     The version of the United States Sentencing Guidelines
effective November 1,2018, applies in this case.

             3. The applicable guideline for this offense is U.S.S.G. S 2X1.1,
which provides that the base offense level for any conspiracy is the base offense
level from the guideline for the substantive offense, plus any adjustments from
such guideline for any intended offense conduct that can be established with
reasonable certainty. Because the substantive offense is a conspiracy to commit
health care fraud, the applicable guideline is U.S.S.G. S 2Bl.l.

         4. Because the offense of conviction does not have a statutory
maximum term of imprisonment of 20 years or more, this guideline carries a
Base Offense Level of   6.   U.S.S.G.   S 281.1(a)(2).
             5. Because this offense involved losses totaling more than
$1,500,000   but  not more than $3,500,000, the Specific Offense Characteristic
results in an increase of 16 levels. U.S.S.G. S 281.1(b)(1)(I).

            6.       Because the offense was committed through mass marketing,
the Specific Offense Characteristic results in an increase of 2 levels. U.S.S.G. S
2Bt .1(b)(2)(A)(ii).

            7.     Because Mclean was convicted of a Federal health care
offense involving a Government health care program and the loss amount
associated with that offense was more than $1,OOO,000, the offense level is
increase by 2 levels. U.S.S.G. S 281.1(b)(7).

            8.    Because Mclean knew or should have known that a victim of
the offense was a vulnerable victim, the offense level is increased by 2 levels.
u.s.s.G. s 3A1.1(bx1).

            9.     Because Mclean was an organizer, leader, manager, or
supervisor in the criminal activity, the Specific Offense Characteristic results in
an increase of 2levels. U.S.S.G. S 381.1(c).

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            10. As of the date of this letter, Mclean has clearly demonstrated
a recognition and affirmative acceptance of personal responsibility for the
offenses charged. Therefore, a downward adjustment of 2 levels for acceptance
of responsibility is appropriate if Mclean's acceptance of responsibility continues
through the date of sentencing. U.S.S.G. S 3E1.1(a).

              1    1.   As of the date of this letter, Mclean has assisted authorities
in the investigation or prosecution of his own misconduct by timely notifying
authorities of his intention to enter a plea of guilty, thereby permitting this Office
to avoid preparing for trial and permitting this Office and the court to allocate
their resources efficiently. At sentencing, this Office will move for a further 1-
point reduction in Mclean's offense level pursuant to U.S.S.G. S 3E1.1(b) if the
following conditions are met: (a) Mclean enters a plea pursuant to this
agreement, (b) this Office in its discretion determines that Mclean's acceptance
of responsibility has continued through the date of sentencing and Mclean
therefore qualifies for a 2-point reduction for acceptance of responsibility
pursuant to U.S.S.G. S 3E1.1(a), and (c) Mclean's offense level under the
Guidelines prior to the operation of $ 3E 1. 1(a) is 16 or greater.

              12. In accordance with the above, the parties agree that the total
Guidelines offense level applicable to Mclean is 27 (the "agreed total Guidelines
offense level").

             13. The parties agree not to seek or argue for any upward or
downward departure, adjustment or variance not set forth herein. The parties
further agree that a sentence within the Guidelines range that results from the
agreed total Guidelines offense level is reasonable.

              L4.   Mclean knows that he has and, except as noted below in this
paragraph, voluntarily waives, the right to file any appeal, any collateral attack,
or any other writ or motion, including but not limited to an appeal under 18
U.S.C. 93742 or a motion under 28 U.S.C. S 2255, which challenges the sentence
imposed by the sentencing court if that sentence falls within or below the
Guidelines range that results from the agreed total Guidelines offense level of 27 .
This Office will not fiIe any appeal, motion or writ which challenges the sentence
imposed by the sentencing court if that sentence falls within or above the
Guidelines range that results from the agreed total Guidelines offense level of 27 .
The parties reserve any right they may have under 18 U.S.C. S 3742 to appeal
the sentencing court's determination of the criminal history category. The
provisions of this paragraph are binding on the parties even if the Court employs
a Guidelines analysis different from that stipulated to herein. Furthermore, if
the sentencing court accepts a stipulation, both parties waive the right to file an
appeal, collateral attack, writ, or motion claiming that the sentencing court erred
in doing so.


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            15.     Both parties reserve the right to oppose or move to dismiss
any appeal, collateral attack, writ, or motion barred by the preceding paragraph
and to file or to oppose any appeal, collateral attack, writ or motion not barred
by the preceding paragraph.




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